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                            UNITED STATESDISTRICTCOURT
                            EASTERNDISTRICTOF LOUISIANA
                                 ----------x
 THAD TATUM,
 an individual,                                    CASENO.:

               Plaintifi
                                                   Judge:
 vs.

BURGERKING CORPORATION
                                                   Magistrate:
a FloridaCorporation

              Defendant.


                                        COMPLAINT
       Plaintifi THAD TATUM, by and through his undersignedcounsel,hereby
                                                                          files this
ComplaintandsuesBURGERKING CORPORATION,a FloridaCorporation,
                                                           for declaratoryand
injunctiverelief, attorneys'fees,and costspursuantto the Americans
                                                                  with DisabilitiesAct, 42
U.S.C.$ 12181et s€Q.,and
                       alleges:

                             JURISDICTION AND PARTIES
l'     This is an actionfor declaratoryandinjunctiverelief pursuantto Title III of the
                                                                                       Americans
       WithDisabilitiesAct,42U.S.C.S
                                  1218l etseq.(hereinafterrefenedtoasthe..ADA,,).
                                                                            This
       cornt is vestedwith originaljurisdictionpursuantto28u.s.c.
                                                                     ss l33l and 1343.
2.     venueis properin this cor:rt pursuantto 2g u.s.c. I 391(b).
                                                        $
3'     Plaintifl THAD TATUM, (hereinafterreferredto as"MR. TATUM,, or..pLAINTIFF,),
                                                                                    is
       a residentof Orleansparish,Louisiana.
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 4.    MR' TATUM is a qualifiedindividualwith a disabilityunderthe ADA.
                                                                        MR. TATUM is

       afflictedwith paraplegia.

 5.    Dueto hisdisability,PLAINTIFFis substantially
                                                   impairedin severalmajorlife   activitiesand
       requiresa wheelchairor walkerfor mobility.

 6.    upon informationand belief, DefendantBURGERKING coRpoRATION
                                                                   is a Florida

       Corporation,registeredto do businessin the Stateof Louisiana(hereinafter
                                                                              referredto as

       "DEFENDAN'T")' DEFENDANT is the owner,lessee,lessorand/or
                                                                operatorof the real

       propertiesand improvementswhich is the subjectof this action,
                                                                     to wit: Burger Kirrg

      Restat[ant'generallylocatedat 3005Veteranos
                                                MemorialHighway,Metairie,LA 70005.

      TheDEFENDANT is obligatedto complywith the ADA.

7.    All eventsgiving rise to this lawsuitoccurredin the EasternDistrict of
                                                                             Louisiana,Orleans

      Parish,Louisiana.




8.    PLAINTIFFreallegesandreaversParagraphs
                                           I - 7 asifthey wereexpresslyrestatedherein.

9.    ThePropertyis a placeof public accommodation,
                                                 subjectto the ADA, generallylocatedat

      3005veteran'sMemorialHighway,Metairie,LA 70005.

10.    MR' TATUM has visited the Propertyand plansto visit the Propertyagain
                                                                            in the near
      future.

ll.   During his visit, MR. TATUM experiencedseriousdifficulty accessing goods
                                                                       the    and
      utilizing the servicesthereindueto thearchitecturalbarriersasdiscussed
                                                                           in paragraph14of
                                              2
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        this Complaint.

 12'    MR' TATUM continuesto desireto visit the Property,but continuesto experience
                                                                                   serious
        difficulty dueto the barriersdiscussedin Paragraph14which still exist.

 13'    MR' TATUM intendsto andwill visit the Propertyto utilize the goods
                                                                          andservicesin the
        future,but fearsthathe will encounterthe samebarriersto accesswhich
                                                                            arethe subjectsof
        this action.

 14'   DEFENDANTis in violationof 42U.S.C. 1218I et seq.and28C.F.R.
                                         $                        $ 36.302etseq.and
       is discriminatingagainstPLAINTIFF due to, but not limited to the
                                                                           following violations
       which PLAINTIFF personallyobservedand/orencountered
                                                         which hinderedhis access:
               A'      In the parking atea,there are no "van accessible"spacesdesignated
                                                                                       for
                       disableduse;

               B'      The accessible
                                    parkingspacesareimproperlydispersedandmarked;

               C.      The signsdesignatingdisabledusespacesffe improperlyposted;

              D'       The disabledparking spacesare not the proper width and do not have

                       appropriateaccessaisles;

              E'       Thereis no compliantaccessible
                                                    routefrom the parkingareato the facility;

              F.       Thereis no compliantaccessible
                                                    routefrom the streetto the facility;

              G.       Thereareftrmpsandcurb cutsat the facility that do not havelevel landings

                       and/orcontainexcessive
                                            slopes,andfail to providea smoothtransitionwhere

                       the rampsconnectwith the sidewalkandroadway;and

              H.       The restroomsin the facility arenon-compliant.

15'    Furthermore,DEFENDANT continuesto discriminateagainstPLAINTIFF,
                                                                       and others
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      similarly situated,by failing to make reasonablemodificationsin policies,practicesor

      procedures,when such modificationsare necessaryto provide PLAINTIFF an equal

      opporfunityto participatein, or benefit from, the goods,services,facilities, privileges,

      advantages,
               andaccommodations
                               whichDEFENDANToffersto the generalpublic;andby

      failingto takesucheffortsthatmaybenecessary
                                               to ensurethatno individualwith a disability

      is excluded,denied services,segregated,or otherwisetreated differently than other

      individuals becauseof the absenceof auxiliaryaidsandservices.

t6.   To date,all barriersto accessandADA violationsstill existandhavenot beenremediedor

      alteredin sucha way as to effectuatecompliancewith the provisionsof the ADA, even

      thoughremovalis readilyachievable.

t7.   Removal of the discriminatorybarriers to accesslocated on the Property is readily

      achievable,reasonablyfeasible,and easilyaccomplished,
                                                          and would not placean undue

      burdenon DEFENDANT.

19.   Removalof the barriersto accesslocatedon the Propertywould providePLAINTIFF an

      equalopportunityto participatein, or benefitfrom,thegoods,services,andaccommodations

      which DEFENDANT offersto the generalpublic.

20.   Independentof his intent to return as a patronto the Property,PLAINTIFF additionally

      intendsto returnasanADA testerto determinewhetherthe barriersto accessstatedherein

      havebeenremedied.

21.   PLAINTIFF has been obligated to retain the undersignedcounselfor the filing and

      prosecutionof this action. PLAINTIFF is entitledto havehis reasonable
                                                                          attomeys'fees,

      costs,andexpenses
                      paidby DEFENDANT,pursuantto 42 u.s.c. $ 12205.
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      WHEREFORE,PLAINTIFF demandsjudgmentagainstDEFENDANT, andrequeststhe

following injunctiveanddeclaratoryrelief,

       A.     That this Court Declare that the Property owned, leasedand/or operatedby

              DEFENDANT is in violationof the ADA;

       B.     Thatthis Courtenteran OrderdirectingDEFENDANTto alterthe facility to make

              it accessible
                          to anduseableby individualswith disabilitiesto thefull extentrequired

              by Title III of the ADA;

       C.     Thatthis CourtenteranOrderdirectingDEFENDANT to evaluateandneuhalizeits

              policies,practices,ffid procedures
                                               towardspersonswith disabilitiesfor a reasonable

              amountof time, allowingimplementation
                                                  andcompletionof correctiveprocedures;

      D.      Thatthis Courtawardreasonable
                                          attorneys'fees,costs(includingexpertfees),and

              otherexpensesof suit,to PLAINTIFF;and

      E.      That this Court awardsuchotherandfurtherrelief as it deemsnecessary,
                                                                                just and

             proper.

                                                  RespectfullySubmitted,

                                                  THE BIZER LAW FIRM
                                                  Attorneysfor Plaintiff
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